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                        California Pizza Kitchen, Inc.
                      8
                      9                                     UNITED STATES DISTRICT COURT
                     10                                CENTRAL DISTRICT OF CALIFORNIA
                     11
                     12 AVIVA KIRSTEN and JEREMY               Case No. 2:21-CV-09578-DOC (KESx)
                        PITTMAN, individually and on behalf of
                     13 all others similarly situated,         Hon. David O. Carter
                     14                       Plaintiffs,
                                                        DEFENDANT CALIFORNIA PIZZA
                                                        KITCHEN, INC.’S NOTICE OF
                     15     vs.                         MOTION AND MOTION TO
                                                        DISMISS PLAINTIFFS’ CLASS
                     16 CALIFORNIA PIZZA KITCHEN, INC., ACTION COMPLAINT
                     17                       Defendant.                  Concurrently filed with Request for
                                                                          Judicial Notice
                     18
                                                                          Date: Monday, March 28, 2022
                     19                                                   Time: 8:30 a.m.
                                                                          Ctrm: 9D
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                      1
                      2                                  NOTICE OF MOTION TO DISMISS
                      3            Please Take Notice that on Monday, March 28, 2022, or as soon thereafter as
                      4 the matter may be heard, Defendant California Pizza Kitchen (“CPK”) will, and
                      5 hereby does, move for an order dismissing Plaintiff Aviva Kirsten’s and Jeremy
                      6 Pittman’s Class Action Complaint. The Motion is made on the grounds that, under
                      7 Federal Rule of Civil Procedure 12(b)(1), Plaintiffs have failed to allege an injury
                      8 sufficient to establish standing under Article III of the United States Constitution.
                      9 This Motion is further made on the grounds that, under Federal Rule of Civil
                     10 Procedure 12(b)(6), Plaintiffs have failed to state a claim upon which relief can be
                     11 granted for any cause of action alleged in their Class Action Complaint.
                     12            This motion is made following the conference of counsel pursuant to L.R. 7-3,
                     13 which took place on January 31, 2022. The parties discussed in detail the basis for
                     14 CPK’s intended Motion to Dismiss.
                     15            This Motion is based on this Notice, the Memorandum of Points and
                     16 Authorities, the Request for Judicial Notice, and all other facts the Court may or
                     17 should take notice of, all files, records, and proceedings in this case, and any oral
                     18 argument the Court may entertain.
                     19
                     20 DATE: February 7, 2022                  LEWIS BRISBOIS BISGAARD & SMITH LLP
                     21
                                                                                            11
                     22
                                                                By:
                     23                                               JON P. KARDASSAKIS
                     24                                               MICHAEL K. GRIMALDI
                                                                      Attorneys for Defendant
                     25                                               California Pizza Kitchen, Inc.
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                    1 I.         INTRODUCTION
                    2            This is a no-injury class action filed after California Pizza Kitchen, Inc.
                    3 (“CPK”) gave the required statutory notice of a data-security event when it was the
                    4 victim of criminal hackers. This case arises from a ransomware attack. American
                    5 businesses face an onslaught of criminal attackers trying to take over their computer
                    6 systems. A federal judge over seven years ago noted “[t]here are only two types of
                    7 companies left in the United States, according to data security experts: those that
                    8 have been hacked and those that don’t know they’ve been hacked.” Storm v Paytime,
                    9 Inc., 90 F. Supp 3d 359, 360 (M.D. Pa. 2015). As illustrated by the references in
                   10 plaintiffs’ Complaint, the prevalence of data-security events has only increased since
                   11 then. Now after nearly every notice of a data incident comes a lawsuit claiming some
                   12 future injury could happen. Plaintiffs follow this formula1. The problem for Plaintiffs
                   13 is that they have no concrete injury for standing, and no cognizable damages to
                   14 support their claims.
                   15            The mere allegation that a data-security event occurred does not mean that
                   16 Plaintiffs have a cause of action in a federal court. Courts are taking a rigorous look
                   17 at the issues of injury and standing in data-security litigation, especially after the U.S.
                   18 Supreme Court’s TransUnion decision, and dismissing suits where, as here, there is a
                   19 lack of concrete injury. In a recent analogous case, a magistrate judge dismissed a
                   20 similar ransomware case, concluding that just because information may have been
                   21 accessed, this does not mean it caused concrete harm. In re Practicefirst Data Breach
                   22 Litig., 2022 U.S. Dist. LEXIS 19272, at *27-28 (W.D.N.Y. Feb. 1, 2022)
                   23 (“Practicefirst”). Months have passed here since the data security incident giving rise
                   24
                   25   1
                        They bring claims for Negligence, Negligence Per Se, Invasion of Privacy, Breach
                   26 of Implied Contract, statutory claims based on violations of the Unfair Competition
                      law (Cal. Bus. & Prof. Code § 17200 et seq.), “various State Data Breach Laws,” the
                   27 Consumer Records Act (Cal. Civ. Code §1798.80 et seq.), the Cal. Consumer

LEWIS              28 Privacy Act (Cal. Civ. Code § 1798.100 et seq.), and a claim for Declaratory Relief.
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                    1 to this action. The complaint is devoid of allegations that Plaintiffs, or any putative
                    2 class members, have experienced any type of misuse/fraud because of this data
                    3 security incident, or even that attempts have been made to use their personal
                    4 information for nefarious purposes.
                    5            Not every data-security event should be a cause to file a federal class action.
                    6 The lack of concrete injury required for standing, as well as Plaintiffs’ failure to
                    7 plausibly allege facts, means that all the claims must be dismissed.
                    8 II.        STATEMENT OF RELEVANT FACTS
                    9            Plaintiffs Aviva Kirsten and Jeremy Pittman are residents of California and
                   10 former employees of CPK. Compl. ¶¶ 7-8. They received letters from CPK advising
                   11 of “a disruption to certain systems in [CPK’s] computing environment” in which
                   12 “certain files on CPK’s systems had been subject to unauthorized access.” Compl. ¶
                   13 17. CPK stated there was “no indication that your specific information was accessed
                   14 or misused.” RJN Ex. 1
                   15            CPK’s letter explained that CPK was providing a free identity-theft and fraud-
                   16 detection service called “Experian’s IdentityWorks.” RJN Ex. 1 (noting this “product
                   17 provides you with superior identity detection and resolution of identity theft”). This
                   18 free service provided the following features: Experian credit report at signup, Credit
                   19 Monitoring, Identity Restoration, Experian IdentityWorks ExtendCARE, and
                   20 critically “up to $1 Million Identity Theft Insurance.” Id. No plaintiff alleges they
                   21 signed up for this free identity-theft protection service or made a claim on their free
                   22 insurance.
                   23            Neither plaintiff alleges facts that they have suffered unauthorized use of any
                   24 of their information, identity theft, fraud, or economic harm. They do not allege any
                   25 instance of identity theft or misuse for other putative class members. Neither plaintiff
                   26 plausibly alleges facts that they have expended time or money because of the security
                   27 incident. Neither Plaintiff allege any impact to their credit.

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                    1
                    2 III.       PLAINTIFFS FACIALLY LACK ARTICLE III STANDING FOR FAILING TO
                                 PLAUSIBLY ALLEGE A CONCRETE INJURY (FRCP 12(B)(1)).
                    3
                                 A.         The Mere Occurrence of a Security Incident Does Not Constitute
                    4                       Concrete Injury.
                    5            Given the prevalence of bad actors and security threats, courts have made clear
                    6 that “Evidence of a mere data breach does not, standing alone, satisfy the
                    7 requirements of Article III standing.” Tsao v. Captiva MVP Rest. Partners, LLC, 986
                    8 F.3d 1332, 1344 (11th Cir. 2021). To establish Article III standing, a “plaintiff must
                    9 have (1) suffered an injury in fact, (2) that is fairly traceable to the challenged
                   10 conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial
                   11 decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). “Concrete” injuries must
                   12 be “actual or imminent, not conjectural or hypothetical.” Id. at 340.
                   13       In the recent decision of TransUnion v. Ramirez, the Supreme Court further
                   14 narrowed Article III standing requirements, holding that plaintiffs cannot establish an
                   15 injury-in-fact for standing by relying entirely on a risk of future harm. TransUnion,
                   16 141 S. Ct. at 2190. The Supreme Court instructed that, “in a suit for damages the
                   17 mere risk of future harm, standing alone, cannot qualify as concrete harm—at least
                   18 unless the exposure to the risk of future harm itself causes a separate concrete harm.”
                   19 Id. at 2210-11. Stated simply, “[n]o concrete harm, no standing.” Id. at 2200.
                   20 Likewise, in Clapper v. Amnesty International, the Supreme Court made clear that
                   21 “allegations of possible future injury” or even an “objectively reasonable likelihood”
                   22 of future injury are insufficient to confer standing. 568 U.S. 398, 408-409 (2013). A
                   23 future injury constitutes an Article III injury-in-fact only “if the threatened injury is
                   24 certainly impending.” Id. (plaintiffs may not rely on “a highly attenuated chain or
                   25 possibilities” or “speculative chain of events” to establish standing).
                   26            TransUnion and Clapper instruct that to establish Article Ill standing in a suit
                   27 for damages, a plaintiff must allege both a risk of future harm that is “actual and

LEWIS              28 imminent” or “certainly impending” as well as a separate, concrete harm that was
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                    1 caused by exposure to the imminent risk and is proportional to the actual likelihood
                    2 of the future harm occurring. The Supreme Court has made clear that allegations of a
                    3 concrete harm that are tied to speculative or possible future injury are insufficient
                    4 because plaintiffs “cannot manufacture standing merely by inflicting harm on
                    5 themselves based on their fears of hypothetical future harm that is not certainly
                    6 impending.” Clapper, 568 U.S. at 416. So too here.
                    7            B.         Plaintiffs Have Not Alleged an Imminent or Certainly Impending
                                            Risk of Future Harm.
                    8
                    9            Plaintiffs’ theory of injury rests on speculation. They claim injury on the basis
                   10 of “future costs in terms of time, effort and money that will be spent trying to
                   11 prevent, detect, contest and repair the effects of the PII compromised as a result of
                   12 the Data Breach” and “continued risks to their PII, which … may be subject to further
                   13 breaches.” Compl. ¶ 82 (emphasis added). No actual harm has happened. They assert
                   14 they face “a substantially increased risk of identity theft” and will suffer “lost time
                   15 and money to remediate the effects of the data breach, including increased risk
                   16 faced.” Compl. ¶ 91. “Mere misappropriation of personal information” does not
                   17 establish injury. Pruchnicki v. Envision Healthcare Corp., 845 F. App’x 613, 615
                   18 (9th Cir. 2021).
                   19       Plaintiffs allege their fact-free contention that they suffered “out-of-pocket
                   20 costs associated with the prevention, detection and recovery from identity theft and/or
                   21 unauthorized use of financial and medical accounts,” and “lost opportunity costs
                   22 associated with their efforts expended.” Compl. ¶ 81. They fail to allege any plausible
                   23 facts beyond this contention. They allege they were injured by “compromise,
                   24 publication, and/or theft” of their PII. Compl. ¶ 82. They provide no facts as to how
                   25 this injured them. Pruchnicki, 845 F. App’x at 615. Plaintiffs fail to allege a
                   26 plausible “concrete injury” under TransUnion.
                   27       This ransomware case is analogous to Graham v. Universal Health Serv.,

LEWIS              28 where the court refused to confer standing to plaintiffs based on their alleged
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                    1 increased risk of identity theft following exposure of their confidential information in
                    2 a ransomware attack, since it was “purely speculative” that hackers intended to use
                    3 plaintiffs’ data for any future criminal acts beyond the initial ransomware attack.
                    4 2021 U.S. Dist. LEXIS 93075 (E.D. Pa. May 17, 2021) (noting the “target of a
                    5 ransomware attack is the holder of the confidential data; the misappropriation of the
                    6 data, whether by theft or merely limitation on access to it, is generally the means to
                    7 an end: extorting payment”).2 Likewise, the complaint here does not allege facts
                    8 showing a targeted attempt or clear intent to obtain Plaintiffs’ confidential
                    9 information for its future misuse, weights against finding standing.
                   10         Numerous circuit and district courts have declined to grant standing based on
                   11 an imminent risk of future identity theft under analogous facts where, as here,
                   12 plaintiffs could not show either their data or the data of others was actually misused.3
                   13
                        2
                   14     See also Quintero v. Metro Santurce, Inc., 2021 U.S. Dist. LEXIS 237071 (D. PR
                        Dec. 9, 2021) (motion to dismiss granted for lack of Article Ill standing where class
                   15   action complaint alleged only a “garden-variety ransomware attack” and “there
                   16   [were] no sufficiently pleaded allegations of a motive to seal the PII for identity
                        theft or fraud.”); Travis v. Assured Imaging LLC, 2021 U.S Dist. LEXIS 89129 (D.
                   17   AZ May 10, 2021) (motion to dismiss class action complaint based on data breach
                   18   granted for lack of standing, in part because allegations of a ransomware attack did
                        not indicate that data was taken in a “manner that suggests it will be misused.”).
                   19
                        3
                   20     See e.g., Reilly v. Ceridian Corp., 664 F.3d 38, 40 (3d Cir. 2011) (dismissing case
                        at pleadings stage: “In data breach cases where no misuse is alleged...there has been
                   21   no injury” and any damages that may occur are “entirely speculative and dependent
                   22   on the skill and intent of the hacker.”); Alleruzzo v. SuperValu, Inc., 870 F.3d 763,
                        766 (8th Cir. 2017) (dismissing plaintiffs for lack of standing at pleadings stage
                   23   because allegations that “illicit websites are selling their [credit card information] to
                   24   counterfeiters and fraudsters” were speculative and failed to allege injury); Tsao,
                        LLC, 986 F.3d at 1332 (dismissal for lack of standing because conclusory allegation
                   25   of a continuing risk of identity theft “without specific evidence of some misuse of
                   26   class members’ data “does not establish a concrete injury.”); Beck v. McDonald, 848
                        F.3d 262, 273-76 (4th Cir. 2017) (“mere theft” of plaintiff’s data, without more,
                   27   required consideration of the “attenuated chain of possibilities” rejected by Clapper
                   28   and “this theory of harm was simply ‘too speculative’ to constitute an injury in
LEWIS                   (footnote continued)
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                    1            In short, Plaintiffs try to “string together a lengthy chain of possibilities
                    2 resulting in injury.” Clapper, 568 U.S. at 410. The fact there was an attack on CPK
                    3 “by itself, does not demonstrate that [plaintiffs are] at a substantial risk of future
                    4 identity theft of fraud.” McMorris v. Carlos Lopez & Assocs., LLC, 995 F.3d 295,
                    5 303 (2d Cir. 2021).
                    6            C.         Plaintiffs Have Not Alleged Actual or Concrete Harm.
                    7            A review of the complaint shows Plaintiffs filed suit without having any harm.
                    8 Instead, they provide a list of vague-and-conclusory injury theories that courts reject:
                    9            Plaintiffs Cannot Manufacture Injury by Inflicting Injury on Themselves.
                   10            Plaintiffs did not sign up for the free identity-theft protection service CPK
                   11 offered. They confusingly appear to argue they took other steps. Courts find “where
                   12 plaintiffs have not alleged a substantial risk of future identity theft, the time they
                   13 spent protecting themselves against this speculative threat cannot create an injury.”
                   14 McMorris, 995 F.3d at 303. See also Fero v. Excellus Health Plan, Inc., 236 F. Supp.
                   15 3d 735, 753 (W.D.N.Y. 2017) (“This rule from Clapper has been applied in the data
                   16 breach context, such that courts have concluded that mitigation efforts following a
                   17 data breach do not confer standing where the alleged harm is not imminent.”)
                   18            Plaintiffs fail to allege an imminent risk of harm—there are no plausible facts
                   19 of alleged data misuse. This is not like a W-2 tax-return case where the hackers steal
                   20
                   21 fact’”); Khan v. Children’s Nat’l Health Sys., 188 F. Supp. 3d 524, 531 (D. Md.
                   22 2016) (“In the absence of specific incidents of the use of stolen data for identity
                      fraud purposes, district courts have generally found that the increased risk of
                   23 identity theft does not confer standing,”); Legg v. Leaders Life Ins. Co., 2021 U.S.
                   24 Dist. LEXIS 232833 (W.D. Okla. Oct. 1, 2021) (dismissing a data breach class
                      action for lack of standing where plaintiffs’ allegations, at best, “lead to a plausible
                   25 inference that at some unknown time in the future, some of the putative class
                   26 members may be the victim of identity theft or fraud [and] even accepting as true
                      plaintiffs allegations about the nature of the breach, that it was an attack by
                   27 cybercriminals—plaintiff only pleads facts showing there is a non-imminent risk of

LEWIS              28 possible future injury following the data breach.”).
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                    1 the tax returns and file false tax returns. Any argument Plaintiffs conjure can get
                    2 around the fact that cannot manufacture a concrete injury where there is no imminent
                    3 or substantial risk of harm. They “cannot conjure standing here by inflicting injuries
                    4 on himself to avoid an insubstantial, non-imminent risk of identity theft.” Tsao, 986
                    5 F.3d at 1344.4
                    6         Plaintiffs’ Fail to Allege a Concrete or Actual Injury Based on a Diminution in
                    7 Value of Their Information. Plaintiffs’ next contention is that they suffered
                    8 “diminution of value and the use of their PII.” Compl. ¶ 82. The complaint contains
                    9 general-and-conclusory allegations that PII/PHI is a “crucial commodity” on the
                   10 “cyber black-market.” ¶ 31. Plaintiffs do not allege they attempted to sell their PII
                   11 and were forced to accept a decreased price, nor do they allege any details as to how
                   12 their specific PII has been devalued because of this incident. Courts reject this theory:
                   13 “Mere misappropriation of personal information without a resultant economic
                   14 harm—for example in the form of being deprived of the ability to monetize that
                   15 information—is neither damage nor injury-in-fact.” In re Google Privacy Policy
                   16 Litig., 2015 U.S. Dist. LEXIS 92736, at *17 n.63 (N.D. Cal. July 15, 2015);
                   17 Pruchnicki, 845 F. App’x at 615 (holding plaintiff failed to establish an injury where
                   18 she “failed to adequately allege that her personal information actually lost value.”).5
                   19
                        4
                   20     See also Maddox v. Bank of N.Y. Mellon Tr. Co., N.A., 2021 U.S. App. LEXIS
                        34056 at *15-18 (2d Cir. Nov. 17, 2021) (emotional distress or actions taken to
                   21   prevent a risk that were “wholly incommensurate with the stimulant” are not enough
                   22   to establish standing); Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 931
                        (11th Cir. 2020) (mitigation costs are insufficient to confer standing where there is
                   23   no substantial risk of identity theft, and plaintiffs “assertion of wasted time and
                   24   effort necessarily rose or fell alone with the Court’s determination of whether there
                        was substantial risk of harm.”); Reilly, 664 F.3d at 38 (“costs incurred to watch for a
                   25   speculative chain of future events based on hypothetical future criminal acts are no
                   26   more ‘actual’ injuries than the alleged ‘increased risk of injury’.”).
                   27   5
                        See also Wallace v. Health Quest Sys., 2021 U.S. Dist. LEXIS 54557 at *21
LEWIS              28 (S.D.N.Y. Mar. 22, 2021) (no injury where plaintiffs provided only speculative
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                    1 Plaintiffs’ throw-in theory amounts to “naked assertions devoid of further factual
                    2 enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
                    3            Plaintiffs’ Notification Delay Theory Fails to Allege a Concrete Injury. The
                    4 complaint alleges CPK failed to timely notify about the security incident. Compl. ¶
                    5 36, 37, 43, 73, 105, 109, 147. The letter provided to Plaintiffs states CPK learned of
                    6 the issues on September 15, 2021, investigated through October 2021 and gave notice
                    7 on November 15, 2021. RJN Ex. 1. That is a lightspeed time to investigate a technical
                    8 computer issue and then provide notice to all those who are potentially affected.
                    9            It is fatal to this theory that Plaintiffs plead no injury caused by this supposed
                   10 “delay.” Compl. ¶ 43. Plaintiffs are required “to allege that the damages flowed from
                   11 the delay, and not just that the damage flowed from the intrusion.” In re Sony Data
                   12 Sec. Breach Litig., 996 F. Supp. 2d 942, 1010 (S.D. Cal. 2014) (“Sony II”) (granting
                   13 motion to dismiss and dismissing claim for same reasons with prejudice); In re Adobe
                   14 Sys. Privacy Litig., 66 F. Supp. 3d 1197, 1218 (N.D. Cal. 2014) (“[B]y failing to
                   15 allege any injury resulting from a failure to provide reasonable notification of the
                   16 2013 data breach, Plaintiffs have not plausibly alleged that they have standing to
                   17 pursue a Section 1798.82 claim.”).
                   18            Plaintiffs lack Article III standing to bring a claim for either damages or
                   19 injunctive relief because they cannot demonstrate a substantial or certainly impending
                   20 risk of future identity theft and concrete harm, and because they cannot manufacture
                   21 standing by incurring costs in anticipation of non-imminent harm. Practicefirst at
                   22 *27 (dismissing for same reasons).
                   23
                   24 allegations regarding the value of their private information on [the] black market
                      and how their private information diminished in value); Pena v. British Airways,
                   25 PLC (UK), 2020 U.S. Dist. LEXIS 60361 at *3 (E.D.N.Y Mar. 30, 2020) (no injury
                   26 based on alleged diminution in value where plaintiff “had not alleged that he was
                      offered or forewent any opportunity to profit from the sale of his personal
                   27 information”); Fero, 236 F. Supp. 3d at 735 (mere allegation that data “commands a

LEWIS              28 high price on the black market” is not sufficient to establish injury).
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                    1
                    2 IV.     PLAINTIFFS’ NEGLIGENCE CLAIM MUST BE DISMISSED FOR FAILURE TO
                              STATE A CLAIM.
                    3
                    4         A.     The Economic Loss Rule Bars the Negligence Claim.
                    5         Given that CPK was the primary victim of the attack, Plaintiffs try to bend the
                    6 tort of negligence to this fact pattern. Plaintiffs fail to allege plausible facts to support
                    7 the elements of a negligence claim, including (1) the existence of a duty of care; (2)
                    8 breach of that duty; (3) causation; and (4) damages. Paz v. State of Cal., 22 Cal. 4th
                    9 550, 559 (2000). Plaintiffs’ negligence claim is based entirely on the fact that CPK
                   10 was the victim of a criminal cyber-attack. Compl. ¶ 73.
                   11       California’s economic loss doctrine generally bars recovery in negligence
                   12 claims for economic damages “unless such damages are accompanied by some form
                   13 of physical harm (i.e., personal injury or property damages).” In re Sony Gaming
                   14 Networks & Customer Data Sec. Breach Litig., 903 F. Supp. 2d 942, 961 (S.D. Cal.
                   15 Oct. 11, 2012) (“Sony I”) (citing N. Am. Chem. Co. v. Super. Ct., 59 Cal. App. 4th
                   16 764, 777 (1997)). Liability for negligence is generally “limited to damages for
                   17 physical injuries and recovery of economic loss is not allowed.” Id. (citing Aas v.
                   18 Sup. Ct., 24 Cal. 4th 627, 636 (2000)). “In the absence of (1) personal injury, (2)
                   19 physical damage to property, (3) a ‘special relationship’ existing between the parties,
                   20 or (4) some other common law exception to the rule, recovery of purely economic
                   21 loss is foreclosed.” Kalitta Air, L.L.C. v. Cent. Tex. Airborne Sys., 315 F. App’x 603,
                   22 605 (9th Cir. 2008) (citing J’Aire Corp. v. Gregory, 24 Cal. 3d 799 (1979)). Plaintiffs
                   23 do not allege physical harm (i.e., personal injury or property damages). Their request
                   24 to recover pure economic losses in negligence is thus foreclosed, as numerous state
                                                    6
                   25 and federal courts have held.
                   26   6
                        See, e.g., RJN Ex. 2, Moore et al v Centerlake Med. Group, Inc., L.A. Sup. Ct No.
                   27 19SCV19196, at pp 15-18 (Nov. 10, 2020) (dismissing negligence and negligence per

LEWIS              28 se claims because the economic loss rule precludes recovery); Sony I, 903 F. Supp.
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                    1            B.         Plaintiffs Fail to Establish CPK Owed Them a Duty of Care or a
                                            Duty of Care Under a Federal Consumer Statute.
                    2
                    3            No common law duty. No California state court has created a common-law
                    4 duty to safeguard personal data and permit a negligence claim based on a third-party
                    5 criminal attack. The California Supreme Court recently rejected creating a duty to
                    6 guard against “purely economic losses” in another context. S. Cal. Gas, 7 Cal. 5th
                    7 391, 398 (2019) (no duty of a gas company that caused gas leak to guard against
                    8 economic losses of businesses affected by leak). S. Cal. Gas’s reasoning shows why
                    9 no duty exists here.
                   10            Economic losses are “pecuniary or commercial loss that does not arise from
                   11 actionable physical …injury to persons or physical injury to property.” Id. The court
                   12 noted it only presumes a duty in “cases involving traditionally compensable forms of
                   13 injury—like physical harm to person or property.” Id. at 399. And “liability in
                   14 negligence for purely economic losses… is ‘the exception, not the rule.” Id. at 400.
                   15 No common-law duty exists such that CPK was required to guarantee it could not be
                   16 attacked by ransomware criminals.
                   17            No Duty under the FTC Act. A federal consumer protection law cannot serve
                   18 as the basis for a California negligence duty. No published California decision
                   19 supports this, which is why Plaintiffs want to rewrite negligence law.
                   20            Plaintiffs allege CPK “had a duty to use reasonable security measures under
                   21 Section A of the Federal Trade Commission Act.” Compl. ¶ 71. Of course, “there is
                   22 no private right of action under the Federal Trade Commission Act...” Mazza v. Am.
                   23
                   24 2d 942, 962 (S.D. Cal. 2012) (finding in data breach case that “Plaintiffs have failed
                      to allege why the economic loss doctrine does not bar their negligence claim); Dugas
                   25 v. Starwood Hotels Inc., 2016 U.S. Dist. LEXIS 152838, at *26 (S.D. Cal., Nov. 3,
                   26 2016) (finding economic loss doctrine barred negligence claim because “Plaintiffs do
                      not plead any individual or personal harm): Castillo v. Seagate Tech., 2016 U.S. Dist.
                   27 LEXIS 187428, at *19-20 (N.D. Cal. Sep. 14, 2016) (dismissing negligence claim in

LEWIS              28 a data breach case in part because “the economic loss doctrine bars their claim”).
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                    1 Honda Motor Co., Inc., 666 F.3d 581, 592 (9th Cir. 2012).
                    2            This Court and others have rejected the use of the FTCA to establish a
                    3 negligence duty.7 Plaintiffs cite no authority which allows them to manufacture a
                    4 FTCA private right of action through a negligence claim. See In re SuperValu, Inc.,
                    5 925 F.3d 955, 963-64 (8th Cir. 2019) (“Congress empowered the Commission—and
                    6 the Commission alone—to enforce the FTCA. Implying a cause of action would be
                    7 inconsistent with Congress’s anticipated enforcement scheme.…”).
                    8            Just as problematically, Plaintiffs’ do not allege what an FTCA duty would
                    9 entail. Section 5(a) of the FTC Act provides that “unfair or deceptive acts or practices
                   10 in or affecting commerce . . . are . . . declared unlawful.” 15 U.S.C. § 45(a)(1).
                   11 Plaintiffs’ invocation of Section 5 does not establish a specific and ascertainable
                   12 standard of conduct. Congress “intentionally left development of the term ‘unfair’ to
                   13 the [Federal Trade] Commission rather than attempting to define” any specific
                   14 practices. Atl. Ref. Co. v. F.T.C., 381 U.S. 357, 367 (1965). Plaintiffs seem to argue
                   15 this standard of care should “include[e], as interpreted and enforced by the FTC, the
                   16 unfair practice of failing to use reasonable measures to protect confidential data.”
                   17 Compl. ¶ 71. They cite no authority for this interpretation. Plaintiffs’ vague reference
                   18 to the FTC guidance for businesses is far from authority. Compl. ¶ 20 n.4.
                   19            C.         Plaintiffs Fail to Allege an Injury Proximately Caused by a Breach.
                   20            Plaintiffs’ injury claims are not plausibly alleged. Their theories of “diminution
                   21 in value and use of their PII,” and “compromise, publication, and/or theft” of their PII
                   22
                   23   7
                         See Pica v. Delta Air Lines, Inc., 2018 U.S. Dist. LEXIS 220836, at *25 (C.D. Cal.
                   24   Sep. 18, 2018) (California negligence per se claim was “barred because the FTC Act
                        creates no private right of action.”); Veridian Credit Union v. Eddie Bauer, LLC,
                   25   295 F. Supp. 3d 1140, 1158-59 (W.D. Wash. Nov. 9, 2017) (discussing the purpose
                   26   of the FTC and finding it did not impose a duty for a negligence claim under
                        Washington law); Cmty. Bank of Trenton v. Schnuck Mkts., Inc., 210 F. Supp. 3d
                   27   1022, 1041 (S.D. Ill. 2016) (rejecting that the FTCA creates an enforceable
                   28   negligence duty under Illinois law).
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                    1 are not cognizable damages. They do not plausibly allege their information was
                    2 posted online or misused. CPK offered one year of credit monitoring and insurance
                    3 through Experian IdentityWorks. Compl. ¶ 47; RJN Ex. 1. Plaintiffs do not allege
                    4 whether they even attempted to sign up for this free service. The fact that this service
                    5 exists negates any claim of present injury. Compl. ¶ 47. Plaintiffs’ claim rests on a
                    6 theoretical future injury that has not occurred. TransUnion, 141 S. Ct. at 2200. The
                    7 only reason Plaintiffs found out about this data-security event was CPK notice letter.
                    8 Any effort at “mitigation” beyond signing up for this free service is just a way to
                    9 manufacture an injury to drum up this suit.
                   10 V.         NEGLIGENCE PER SE IS NOT A RECOGNIZED CLAIM IN CALIFORNIA.
                   11            In California, “negligence per se is not a separate cause of action but an
                   12 evidentiary doctrine.” In re Solara Data Sec. Breach Litig., 2020 U.S. Dist. LEXIS
                   13 80736, at *13 (S.D. Cal. May 7, 2020) (dismissing the same independent negligence
                   14 per se cause of action in a data-security case). Courts routinely dismiss independent
                   15 negligence per se claims, as should be done here.8
                   16 VI.        PLAINTIFFS INVASION OF PRIVACY CLAIM MUST BE DISMISSED FOR FAILURE
                   17            TO STATE A CLAIM.

                   18            Plaintiffs fail to meet the “high bar” for pleading an invasion of privacy claim.
                   19 Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1025 (N.D. Cal. 2012). “Actionable
                   20 invasions of privacy must be sufficiently serious in their nature, scope, and actual or
                   21 potential impact to constitute an egregious breach of the social norms underlying the
                   22 privacy right.” Hill v. Nat'l Collegiate Athletic Assn., 7 Cal. 4th 1, 37, (1994).
                   23 Plaintiffs do not to allege a serious invasion of a protected privacy interest like an
                   24 HIV-positive status. Doe v. Beard, 63 F. Supp. 3d 1159, 1170 (C.D. Cal. 2014).
                   25
                   26   8
                       See e.g., Somerville v. Medtronic, Inc., 2021 U.S. Dist. LEXIS 245439, at *34-35
                   27 (C.D. Cal. Aug. 19, 2021) (dismissing the negligence per se claim); Mullinix v.

LEWIS              28 Fertility, 2021 U.S. Dist. LEXIS 206779, at *5 (C.D. Cal. Apr. 21, 2021) (same).
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                    1 Under California law, to adequately state a claim for invasion of privacy, a plaintiff
                    2 must demonstrate: (1) a legally protected privacy interest; (2) a reasonable
                    3 expectation of privacy under the circumstances; and (3) a serious invasion of the
                    4 privacy interest. In re iPhone Application Litig., 844 F. Supp. 2d at 1063 (citing Hill,
                    5 7 Cal. 4th 1, 35-37 (1994)). Plaintiffs offer no facts to establish conduct by CPK
                    6 which constitutes “an egregious breach of the social norms.” Id. Plaintiffs’
                    7 conclusions of CPK “failing to protect” their data falls short.
                    8            Plaintiffs’ own authority admits “invasion of privacy” is an intentional tort.
                    9 Compl. ¶ 93 (citing Restatement (Second) of Torts § 652B (1977) (“One who
                   10 intentionally intrudes, physically or otherwise, upon the solitude or seclusion of
                   11 another or his private affairs or concerns, is subject to liability to the other for
                   12 invasion of his privacy, if the intrusion would be highly offensive to a reasonable
                   13 person.”) (emphasis added). Plaintiffs’ allegation that CPK was attacked by third-
                   14 party criminals does not amount to an intentional intrusion by CPK. Courts faced
                   15 with similar data breach scenarios have found such allegations insufficient.9 Plaintiffs
                   16 sued the wrong party.
                   17            CPK did not invade anyone’s privacy. Plaintiffs offer only conclusions that
                   18 make no sense. Compl. ¶ 95 (“By intentionally failing to keep Plaintiffs’ and the
                   19 Class Members’ PII safe, and by intentionally misusing and/or disclosing said
                   20
                   21   9
                          See, e.g., Razuki v. Caliber Home Loans, Inc., 2018 U.S. Dist. LEXIS 96973, at *2
                   22   (S.D. Cal. Jun. 8, 2018) (“Losing personal data through insufficient security doesn’t
                        rise to the level of an egregious breach of social norms underlying the protection of
                   23   sensitive data like social security numbers . . . [plaintiff’s] allegations don’t suggest
                   24   the type of intentional, egregious privacy invasion contemplated in Hill.”); In re
                        iPhone Litig., 844 F. Supp. 2d at 1063 (finding information disclosed to third
                   25   parties, including unique device ID number, personal data, and geolocation, did not
                   26   constitute an egregious breach of social norms); Schmitt v. SN Servicing Corp., 2021
                        U.S. Dist. LEXIS 149252, at *23 (N.D. Cal. Aug. 9, 2021) (similar).
                   27

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                    1 information to unauthorized parties for unauthorized use. Defendant intentionally
                    2 invaded Plaintiffs’ and Class Members’ privacy by intrusion.”). They allege no
                    3 affirmative act or misdeed by CPK. Nor do they offer any facts explaining how CPK
                    4 allegedly misused their information. Likewise, Plaintiffs’ allegation of disclosure is
                    5 also unfounded. “California courts have found that the ‘ordinary meaning’ of the
                    6 word ‘disclosure’ suggests it “occurs when the [defendant] affirmatively
                    7 shares…information with another person or entity.” In re Ambry Genetics Data
                    8 Breach Litig., 2021 U.S. Dist. LEXIS 204358 at *26 (C.D. Cal. Oct. 18, 2021)
                    9 (emphasis added) (quoting Sutter Health v. Superior Ct., 227 Cal. App. 4th 1546,
                   10 1555-56 (2014)). Plaintiffs have not alleged that CPK “affirmatively shared any
                   11 information” or performed any act that gave hackers information. Id. The criminal
                   12 attack on CPK’s systems does not establish any affirmative act by CPK.
                   13            Plaintiffs allege “Defendant intentionally concealed…an incident that misused
                   14 and/or disclosed their PII.” Compl. ¶ 98. It is unclear how this allegation even relates
                   15 to their claim. Plaintiffs admit CPK provided notice of the security incident in
                   16 question on November 15, 2021. Ultimately, because Plaintiffs fail to establish any
                   17 conduct by CPK constituting intent—let alone conduct amounting to a “serious
                   18 invasion” of a protected privacy interest—the claim fails.
                   19 VII. PLAINTIFFS’ BREACH OF IMPLIED-CONTRACT CLAIM MUST BE DISMISSED
                           FOR FAILURE TO STATE A CLAIM.
                   20
                   21            Plaintiffs fail to plausibly allege the existence of an implied contract, let alone
                   22 a breach. “An implied contract ‘consists of obligations arising from a mutual
                   23 agreement and intent to promise where the agreement and promise have not been
                   24 expressed in words’.” Rosendahl v. Bridgeport Educ., Inc., 2011 U.S. Dist. LEXIS
                   25 119735, *21 (S.D. Cal., Oct. 17, 2011). A problem for plaintiffs is that because an
                   26 express contract exists between these former CPK employees and CPK, the law does
                   27 not recognize an implied contract. Lance Camper Mfg. Corp. v. Republic Indem. Co.,

LEWIS              28 44 Cal. App. 4th 194, 203 (1996) (“[i]t is well settled that an action based on an
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                    1 implied-in-fact or quasi-contract cannot lie where there exists between the parties a
                    2 valid express contract covering the same subject matter.”). Plaintiffs admit they
                    3 “entered into written agreements with Defendant ...” Compl. ¶ 41 (emphasis added).
                    4 This admission dooms their claim.
                    5            Even if this were not the case, “[a]n implied-in-fact contract requires proof of
                    6 the same elements necessary to evidence an express contract: mutual assent or offer
                    7 and acceptance, consideration, legal capacity and lawful subject matter.” Northstar
                    8 Advisors Inc. v. Schwab Investments, 779 F.3d 1036, 1050-51 (9th Cir. 2015). To
                    9 show the formation of an implied contract requires showing “a meeting of the minds”
                   10 as seen through the parties’ conduct. Rosendahl, 2011 U.S. Dist. LEXIS 119735 *21.
                   11            No Specific Obligations Agreed to. The claim fails because plaintiffs fail to
                   12 plausibly allege CPK agreed to any specific contract obligations whatsoever, let alone
                   13 anything beyond its “written agreement” with Plaintiffs. See, e.g., Frezza v. Google,
                   14 Inc., 2012 U.S. Dist. LEXIS 166003, at *4 (N.D. Cal. Nov. 20, 2012) (rejecting
                   15 implied-contract claim where plaintiffs did not “sufficiently plead that Google agreed
                   16 to and then breached a specific obligation” to comply with data security standards).
                   17 Of course, no facts are alleged to demonstrate a meeting of the minds on a promise
                   18 that CPK’s computer systems would never be breached. That is why courts regularly
                   19 dismiss these implied-contract claims in the data-incident cases like this one. See
                   20 Lovell v. P.F. Chang’s China Bistro, Inc., 2015 U.S. Dist. LEXIS 112101, *10-11
                   21 (W.D. Wash. Mar. 27, 2015) (dismissing a claim for breach of implied contract in a
                   22 data breach suit: “Plaintiff provides no evidence from which one could plausibly infer
                   23 that defendant intended to contractually bind itself to a general standard of reasonable
                   24 care or any particular cybersecurity standard or protocol… Plaintiff alleges no facts
                   25 suggesting that he requested or that defendant made additional promises regarding
                   26 loss prevention, and neither the circumstances nor common understanding give rise to
                   27 an inference that the parties mutually intended to bind defendant to specific

LEWIS              28 cybersecurity obligations.”)
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                    1            No consideration. Plaintiffs offer no facts as to the element of consideration.
                    2 They do not allege how an exchange of PII for a promise to secure it constitutes a
                    3 bargained-for exchange. Businesses are required to maintain employment records and
                    4 would be unable to do so without receiving some PII from their prospective
                    5 employees. Plaintiffs do not allege they disclosed anything more than that required
                    6 PII for CPK to meet this statutory duty. Besides, any supposed promise by CPK to
                    7 protect data would be barred by the preexisting-duty rule. See Restatement 2d of
                    8 Contracts § 73. And like the rest of their claims, Plaintiffs fail to plausibly allege both
                    9 how the data incident caused them damages.
                   10 VIII. PLAINTIFFS LACK STANDING TO ASSERT NATIONWIDE CLASS CLAIMS.
                   11            Plaintiffs lack standing to bring claims based on laws of states in which they
                   12 do not reside. Both plaintiffs are residents of California but seek to represent a multi-
                   13 state class for alleged violations of laws of thirty-eight states (Sixth Cause of Action),
                   14 and a nationwide class for negligence, negligence per se, invasion of privacy by
                   15 intrusion, breach of implied contract, and declaratory relief. Compl. ¶¶ 66-111, 123-
                   16 128, 152-165. “In Easter [v. Am. W. Fin., 381 F.3d 948, 962 (9th Cir. 2004)], the
                   17 Ninth Circuit held that district courts can address ‘the issue of standing before it
                   18 addresse[s] the issue of class certification.” Schertzer v. Bank of Am., N.A., 445 F.
                   19 Supp. 3d 1058, 1072 (S.D. Cal. 2020). “Following Easter, there is a growing trend
                   20 among courts … to address the issue of Article III standing at the pleading stage and
                   21 dismiss claims asserted under laws of states in which no plaintiff resides or has
                   22 purchased products.” Id. (collecting cases). “In the absence of a named Plaintiff who
                   23 has purchased a product within the relevant state… there can be no determination that
                   24 an interest was harmed that was legally protected under the relevant state’s laws.” In
                   25 re Packaged Seafood Prods. Antitrust Litig., 242 F. Supp. 3d 1033, 1095 (S.D. Cal.
                   26 2017). Thus, every claim based on violation of a state law without a representative
                   27 plaintiff should be dismissed for lack of standing. Azimpour v. Sears, Roebuck & Co.,

LEWIS              28 2017 U.S. Dist. LEXIS 63516, *28-31 (S.D. Cal. Apr. 26, 2017).
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                    1            Even where courts may defer standing questions until class certification, “the
                    2 standing inquiry can be addressed when Plaintiffs bring claims from states where
                    3 they do not have a connection.” Stewart v. Kodiak Cakes, LLC, 537 F. Supp. 3d 1103,
                    4 1124 (S.D. Cal. 2021) (citing In re Carrier IQ, Inc., Consumer Privacy Litig., 78 F.
                    5 Supp. 3d 1051, 1075 (N.D. Cal. 2015)). In Stewart, the named Plaintiffs resided in
                    6 only eleven jurisdictions but raised claims from fifty-one. Id. at 1125. The court
                    7 found “forty claims from jurisdictions without a named Plaintiff is vast when
                    8 compared to the mere eleven claims from jurisdictions with a named Plaintiff,” and
                    9 refused to subject defendant “to the expense and burden of nationwide discovery”
                   10 absent actual plaintiffs “willing and able to assert claims under these state laws.” Id.
                   11 As a result, the court dismissed all causes of action “under the laws of states where
                   12 named Plaintiffs do not reside.” Id.
                   13            Plaintiffs’ claims for violations of laws of thirty-eight states in their Sixth
                   14 Cause of Action is similarly vast compared to a single California claim. Plaintiffs fail
                   15 to allege a connection to any of the thirty-seven jurisdictions where they do not
                   16 reside. As in Stewart, Plaintiffs have no standing to maintain a nationwide claim.
                   17 IX.        PLAINTIFFS’ “SIXTH CAUSE OF ACTION VIOLATION OF STATE DATA BREACH
                                 LAWS” IS NOT A COGNIZABLE CLAIM AND MUST BE STRICKEN.
                   18
                   19            Plaintiffs attempt to create a nationwide data-breach statute that does not exist
                   20 with their “SIXTH CAUSE OF ACTION” by asserting a claim for violation of
                   21 statutes of thirty-eight states. Compl. ¶ 127. This is not a cause of action under
                   22 California or federal law. FRCP 8 and 10 do not permit alleging violations of
                   23 separate laws in a single claim. Swafford v. IBM, 383 F. Supp. 3d 916, 932 n.4 (N.D.
                   24 Cal. 2019) (“[L]umping all of these claims together into one cause of action is
                   25 improper” under Rule 10); Saling v. Royal, 2015 U.S. Dist. LEXIS 120087, at *4
                   26 (E.D. Cal. Sept. 9, 2015) (“To the extent plaintiff is attempting to assert multiple
                   27 causes of action in one count, they are to be separated into individual counts for each

LEWIS              28 cause of action…”). Plaintiffs claim without citation that the consumer-protection
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                    1 statutes are “materially identical.” Compl. ¶ 125. This ignores precedent that
                    2 individual states make different decisions about their state laws, which involves
                    3 weighing competing state interests. Mazza, 666 F.3d at 591-93.
                    4            Each state’s laws are separate causes of action. These California Plaintiffs lack
                    5 standing to invoke the laws of states they do not reside in. At the very least, the laws
                    6 of non-resident plaintiffs should be stricken.
                    7 X.         PLAINTIFFS CUSTOMER RECORDS ACT CLAIM FAILS.
                    8            A.         Plaintiffs Are Not “Customers” and Have No CRA Standing Claim.
                    9
                                 The Customer Records Act (“CRA) was intended to protect customers. It
                   10
                        defines a “customer” as “an individual who provides personal information to a
                   11
                        business for the purpose of purchasing or leasing a product or obtaining a service
                   12
                        from the business.” Cal. Civ. Code 1798.80(c). Plaintiffs provided their information
                   13
                        to CPK “as a condition of providing employment,” and are not “customers” under the
                   14
                        CRA. Compl. ¶ 104. The CRA only allows a “customer” to enforce a violation of the
                   15
                        CRA. Cal Civ Code § 1798.84(b). These former employees cannot bring a claim.
                   16
                                 B.         Plaintiffs Have Not Plausibly Alleged an “Unreasonable Delay.”
                   17
                                 Only a month passed between when CPK learned Plaintiffs’ “information
                   18
                        could have been accessed during the event” (October 13) and when the notice letter
                   19
                        was sent (November 15). Compl. ¶ 18 n.3; RJN Ex 1. Plaintiffs offer no facts in
                   20
                        support of an argument that this was an “unreasonable delay.” Cal. Civ. Code §
                   21
                        1798.82(a); Sony II, 996 F. Supp. 2d at 1010 (Plaintiffs must “allege that the damages
                   22
                        flowed from the delay, and not just that the damage flowed from the intrusion.”).
                   23
                                 C.         Plaintiffs Have Not Plausibly Alleged a Failure to Implement
                   24                       “Reasonable Security Procedures.”
                   25            Plaintiffs do not allege plausible facts showing CPK failed to adopt
                   26 “reasonable security procedures.” Cal. Civ Code § 1798.81.5(b). They do not allege
                   27 CPK has been subject to a different data incident or any other complaints about

LEWIS              28 security. They rely on conclusions. Compl. ¶¶ 133-37. That is why courts dismiss
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                    1 CRA claims for failing to allege facts in support of their conclusions.10
                    2 XI.        PLAINTIFFS CALIFORNIA CONSUMER PRIVACY ACT (CCPA) CLAIM FAILS
                    3            The CCPA provides a private right of action in the limited circumstance where
                    4 a consumer’s “personal information, as defined in subparagraph (A) of paragraph (1)
                    5 of subdivision (d) of Section 1798.81.5, is subject to an unauthorized access and
                    6 exfiltration, theft, or disclosure as a result of the business’s violation of the duty to
                    7 implement and maintain reasonable security procedures and practices.” Cal. Civ.
                    8 Code § 1798.150(a)(1) (emphasis added). Plaintiffs’ provide legal conclusions that
                    9 the CCPA was violated. Compl. ¶ 148-149. Plaintiffs do not allege plausible facts in
                   10 support of these conclusions. See Maag v. United States Bank, 2021 U.S. Dist.
                   11 LEXIS 233009, at *4 (S.D. Cal. Apr. 8, 2021) (dismissing a CCPA claim where
                   12 Plaintiff “fail[ed] to allege any facts to support the notion that Defendant’s security
                   13 was deficient” and made only “unsupported allegations that his PII was compromised
                   14 because Defendant did not ‘implement and maintain reasonable security procedures
                   15 and practices,’ ‘failed to effectively monitor its systems for security vulnerabilities,’
                   16 and had ‘lax security’. These conclusory allegations are alone insufficient to state a
                   17 CCPA claim.”); Griffey v. Magellan Health Inc., 2021 U.S. Dist. LEXIS 184591, at
                   18 *46 (D. Ariz. Sep. 27, 2021) (dismissing CCPA claim based on conclusory
                   19 allegations where Plaintiffs “did not allege sufficient facts to establish how or why
                   20 [defendant]'s systems were inadequate or unreasonable or how or why Magellan
                   21 knew or should have known its systems were inadequate or unreasonable.”).
                   22
                   23   10
                          See, e.g., Anderson v. Kimpton Hotel & Rest. Grp., LLC, 2019 WL 3753308, at *5
                   24   (N.D. Cal. Aug. 8, 2019) (dismissing California Customer Records Act (the
                        “CCRA”) claim because the plaintiffs “fail[ed] to allege any facts in support of their
                   25   conclusory allegation that” the defendant did not implement reasonable security
                   26   protocols); Razuki v. Caliber Home Loans, Inc., 2018 U.S. Dist. LEXIS 96973, at *2
                        (S.D. Cal. Jun. 8, 2018) (dismissing CCRA claim alleging security procedures did
                   27   not comply with industry standards absent factual allegations regarding how
                   28   procedures were noncompliant).
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                    1            Although the CCPA has only been in effect a short while, courts in the Ninth
                    2 Circuit have dismissed factually unsupported claims under similar statutes. See
                    3 Anderson, 2019 WL 3753308, at *5 (dismissing a CRA claim for failing to allege
                    4 facts); Razuki, 2018 WL 6018361, at *2 (same). Plaintiffs likewise offer no factual
                    5 basis for alleged violations of the CCPA.
                    6 XII. PLAINTIFFS’ UCL CLAIM FAILS FOR NUMEROUS REASONS.
                    7            A.         Plaintiffs’ Have not Alleged Any Economic Injury as a Result of
                                            CPK’s Conduct to Satisfy the UCL’s Standing Requirement.
                    8
                    9            “[T]o establish standing under the UCL, a plaintiff’s claim must specifically
                   10 involve lost money or property.” Dugas, 2016 U.S. Dist. LEXIS 152838 at *34
                   11 (citing Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 323 (2011)). Plaintiffs do
                   12 not plausibly allege such losses. Plaintiffs allege “the loss of the opportunity to
                   13 control how their PII is used” as well as loss in value of their PII and “compromise,
                   14 publication and/or theft” of their PII. Compl. ¶ 81. This is not a loss of “money or
                   15 property” as required under the UCL.
                   16            Plaintiffs never mention or describe the economic value of their personal
                   17 information. Numerous courts have held disclosure of personal information alone
                   18 does not constitute economic or property loss sufficient to establish UCL standing.11
                   19 Because Plaintiffs fail to present any allegations concerning the economic value of
                   20 the personal information , Plaintiffs have no standing to bring a UCL claim.
                   21
                        11
                   22     See, e.g., In re Yahoo! Inc. Data Sec. Breach Litig., 2017 U.S. Dist. LEXIS
                        140212, at *22 (N.D. Cal. Aug. 30, 2017) (no UCL standing where victims of data
                   23   breach failed to allege specific benefit-of-the-bargain losses or out-of-pocket
                   24   expenses); In re Facebook Privacy Litig., 791 F. Supp. 2d 705, 714 (N.D. Cal.
                        2011), aff’d 572 F. App’x 494 (9th Cir. 2014) (“A plaintiff’s ‘personal information
                   25   does not constitute property under the UCL.”); Archer v. United Rentals, Inc., 195
                   26   Cal. App. 4th 807, 816 (2d Dist. 2011) (dismissing UCL invasion of privacy claim
                        because “plaintiffs have failed to demonstrate how . . . unlawful collection and
                   27   recordation of personal information . . . translates into a loss of money or property”);
                   28   Mastel v. Miniclip, 2021 U.S. Dist. LEXIS 132401, *32 (E.D. Cal. July 14, 2021).
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                    1            They allege they could face future risks (Compl. ¶ 81, 91), but speculative
                    2 future harm is insufficient for UCL purposes. In re Yahoo!, 2017 U.S. Dist. LEXIS
                    3 140212 at *94-95. They allege their “injuries” were compounded from the delay in
                    4 notice (Compl. ¶ 42) but this is unsupported by fact. They provide no plausible facts
                    5 of out-of-pocket expenses incurred. Time and money spent trying to mitigate
                    6 speculative future harm is not sufficient. TransUnion, 141 S. Ct. at 2211; In re
                    7 Yahoo!, 2017 U.S. Dist. LEXIS 140212 at *91-93; Ables, 2018 U.S. Dist. LEXIS
                    8 154681 at *17-19 (finding similar claims insufficient even for Article III standing).
                    9            Plaintiffs lack standing because they fail to allege any actual lost money or
                   10 property. This is not a consumer case who were ripped off. Plaintiffs are former
                   11 employees who worked at CPK.
                   12            B.         Plaintiffs Have Not and Could Never Allege a UCL Fraudulent
                                            Prong Claim Because CPK Was the Victim of the Attack.
                   13
                   14            Federal Rule of Civil Procedure 9(b) applies to claims “sounding in fraud” and
                   15 requires “the who, what, when, where, and how” to be pled with particularity. Kearns
                   16 v. Ford Motor Co., 567 F.3d 1120, 1124-25 (9th Cir. 2009). Plaintiffs’ UCL claim
                   17 attempts to allege a fraudulent course of conduct and thus sound in fraud. Compl. ¶
                   18 115(g)-(h); Kearns, 567 F.3d at 1124-25. Plaintiffs fail to meet their burden to
                   19 establish fraud. The facts are that CPK was attacked. There is no consumer
                   20 transaction here.
                   21            Plaintiffs Allege No “Fraudulent” Misrepresentations. Fraudulent
                   22 misrepresentation requires that Plaintiffs were “exposed to the particular
                   23 representation claimed to be deceptive.” Sony II, 996 F. Supp. 2d at 989. “This
                   24 requires the plaintiff to identify the time, place, and content of the alleged fraudulent
                   25 misrepresentation; the identity of the person engaged in the fraud; and the
                   26 circumstances indicating falseness…” Id. Plaintiffs’ fact-free conclusions do not
                   27 come close. Plaintiffs cannot identify a single actual representation that CPK made;

LEWIS              28 there is none. Compl. ¶ 115. Even if Plaintiffs could allege a representation, they
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                    1 cannot allege they were exposed to it and relied on it. Sony I, 996 F. Supp. 2d at 989.
                    2            Plaintiffs’ next throw-in claim is that there was some duty to disclose CPK’s
                    3 data security. Compl. ¶ 115. First, Plaintiffs do not allege when this purported non-
                    4 disclosure took place or even whether it occurred during their employment. Even so,
                    5 there was no duty to disclose.
                    6            To state a claim for a fraudulent omission, plaintiffs must allege either (1)
                    7 defendant made an affirmative representation that is the opposite of the alleged
                    8 omission, or (2) the defendant had a duty to disclose the alleged omission. Sony II,
                    9 996 F. Supp. 2d at 990. A duty to disclose may exist when the defendant: (1) has a
                   10 fiduciary relationship with the plaintiff; (2) knows material facts the plaintiff could
                   11 not know; (3) “actively conceals a material fact from the plaintiff;” or (4) suppresses
                   12 a material fact after making a partial representation. Id.
                   13            Plaintiffs Fail to Plead Knowledge. Plaintiffs offer no facts to support that
                   14 CPK was aware of any flaw or inadequacy in their security system prior to the
                   15 security incident. Thus, Plaintiffs must instead plead that CPK had a duty to disclose,
                   16 but they plead no facts demonstrating a duty. Sony I, 996 F. Supp. 2d at 990. CPK
                   17 was not in a fiduciary relationship with Plaintiffs. Glenwood Sys. v. Thirugnanam,
                   18 2012 U.S. Dist. LEXIS 208284, at *14 (C.D. Cal. May 15, 2012) (finding employees
                   19 and non-director employers were not fiduciaries). There are no facts showing CPK
                   20 knew of a weakness in its security system, let alone concealed information.
                   21            Fraudulent omission claims require actual reliance by the plaintiff. Daniel v.
                   22 Ford Motor Co., 806 F.3d 1217, 1225 (9th Cir. 2015). Reliance requires showing that
                   23 “had the omitted information been disclosed, one would have been aware of it and
                   24 behaved differently.” Id. Plaintiffs’ conclusory statements, devoid of facts, are
                   25 insufficient to support any of this fraud-based claim.
                   26            C.         Plaintiffs Have Not Adequately Alleged a Claim Under the UCL
                                            Unlawful Prong.
                   27
                   28            Plaintiffs’ unlawful-prong allegations are equally flawed. Plaintiffs make no
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                    1 plausible claim that any statute was violated. The CCPA expressly states it cannot be
                    2 the “basis of a private right of action under any other law.” Cal. Civ. Code
                    3 1798.150(c); Silver v. Stripe Inc., 2021 U.S. Dist. LEXIS 141090, at *19 (N.D. Cal.
                    4 July 28, 2021) (dismissing a UCL unlawful claim predicated on CCPA violation).
                    5 The FTCA similarly “does not provide individuals with a private right of action” and
                    6 cannot be used as a predicate for a UCL claim. Nelson v. Am. Home Mortg. Servicing
                    7 Inc., 2010 U.S. Dist. LEXIS 88653, at *2 (C.D. Cal. July 29, 2020).12 Plaintiffs CRA
                    8 basis also fails because they are not customers. See Razuki, 2018 U.S. Dist. LEXIS
                    9 196070, at *7 (finding a failed CRA claim cannot serve as the basis of a UCL claim).
                   10            D.         Plaintiffs’ UCL Unfair-Prong Claim Is Devoid of Supporting Facts.
                   11            The unfair-prong claim fails because it overlaps entirely with the insufficient
                   12 allegations addressed in the other prongs. Hadley v. Kellogg Sales Co., 243 F. Supp.
                   13 3d 1074, 1104- 05 (N.D. Cal. 2017) (“where the unfair business practices alleged
                   14 under the unfair prong of the UCL overlap entirely with the business practices
                   15 addressed in the fraudulent and unlawful prongs of the UCL, the unfair prong of the
                   16 UCL cannot survive if the claims under the other two prongs of the UCL do not
                   17 survive.”); BMA LLC, 2021 U.S. Dist. LEXIS 169327, at *45. (“Plaintiffs’ claims
                   18 under the “unfair” and “fraudulent practices” likewise fail because they are entirely
                   19 dependent on the insufficient allegations discussed above.”).
                   20            California courts split on what test to apply to determine if a practice is unfair
                   21 under the UCL. Davis v. HSBC Bank, 691 F.3d 1152, 1169-70 (9th Cir. 2012).
                   22 Regardless of the test, Plaintiffs allege nothing to suggest how it is “unfair” for a
                   23
                   24   12
                          See also Schmitt, 2021 U.S. Dist. LEXIS 149252, at *10 (finding “plaintiffs
                   25   cannot predicate their UCL claim on the FTC Act”); O’Donnell v. Bank of Am. N.A.,
                   26   504 Fed. App’x 566, 568 (9th Cir. 2013) (Plaintiffs cannot use the UCL to
                        “engineer” a cause of action under the FTCA); Seaton v. Mayberg, 610 F.3d 530,
                   27   533 (9th Cir. 2010); BMA LLC v. HDR Ltd., 2021 U.S. Dist. LEXIS 169327, at *45
                   28   (N.D. Cal. Sep. 7, 2021) (dismissing UCL claim based on an FTCA violation).
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                    1 company to be a victim of a cyber-attack and then sued as a result. They argue
                    2 CPK’s security policies are “contrary to legislatively declared public policy.” Compl.
                    3 ¶ 115. Yet, they provide no supporting facts as to how CPK’s security is at odds with
                    4 any stated policy. No policy requires a company to guarantee it cannot be attacked.
                    5            The Ninth Circuit has rejected unfair-prong claims like here based on a “very
                    6 general allegation.” Levitt v. Yelp! Inc., 765 F.3d 1123 1136-37 (9th Cir. 2014); see
                    7 also Patterson v. RW Direct, Inc., 382 F. Supp. 3d 938, 940 n.1 (N.D. Cal. 2019)
                    8 (dismissing a UCL unfair claim with prejudice because “it was insufficient for
                    9 [plaintiff] simply to state that ‘it offends public policy to permit corporations like
                   10 Defendants to sell defective products …”). Suits allowed to proceed with unfairness
                   11 claims invoke an immediate, visceral sense of punishable unfairness. See, e.g., Jolley
                   12 v. Chase Home Finance, LLC, 213 Cal. App. 4th 872, 907 (2013) (allegation of bank
                   13 practice of “dual tracking”—agreeing to a loan modification while continuing to
                   14 pursue foreclosure—states an unfair practice). The opposite is true here. Plaintiffs
                   15 cannot “simply impose their own notions of the day as to what is fair or unfair.” Cel-
                   16 Tech Commc’ns, Inc. v. L.A. Cellular Co., 20 Cal. 4th 163, 182 (1999).
                   17            E.         Plaintiffs Have Not Plausibly Alleged Facts Showing a Lack of an
                                            Adequate Legal Remedy.
                   18
                   19            Remedies under the UCL are limited to restitution and injunctive relief, and do
                   20 not include damages. In re Ambry Genetics, 2021 U.S. Dist. LEXIS 204358, at *27;
                   21 Silvercrest Realty, Inc. v. Great Am. E&S Ins. Co., 2012 U.S. Dist. LEXIS 201805 at
                   22 *2 (C.D. Cal. Apr. 4, 2012). A plaintiff “must establish that she lacks an adequate
                   23 remedy at law before securing equitable restitution for past harm under the UCL.”
                   24 Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844-5 (9th Cir. 2020) (dismissing
                   25 UCL claim “when a plain, adequate, and complete remedy exists at law”). Plaintiffs
                   26 have not alleged an inadequate remedy at law, nor pled facts from which this may be
                   27 inferred. Their UCL claim contains no injury for which they do not already seek legal

LEWIS              28 relief elsewhere in the complaint.
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                    1 XIII. DECLARATORY RELIEF IS NOT A CLAIM AND SHOULD BE DISMISSED.
                    2            The Federal Declaratory Judgment Act allows a federal district court to
                    3 “declare the rights and other legal relations of any interested party seeking such
                    4 declaration, whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a).
                    5 Declaratory relief is not a separate cause of action but rather a means through which a
                    6 court can grant relief not otherwise available in the underlying cause of action.
                    7 Gonzalez v. Sallie Mae Bank, 2019 U.S. Dist. LEXIS 157007, *8 (S.D. Cal., Sept. 12,
                    8 2019) (citing Skelly Oil Co. v Phillips Petroleum Co., 339 U.S. 667, 671-72 (1950)).
                    9 “A claim for declaratory relief cannot survive independently of other valid claims.”
                   10 Id. The plaintiffs’ declaratory relief claim is not a separate claim and is duplicative.13
                   11 XIV. CONCLUSION
                   12            Plaintiffs fail to plausibly allege a concrete injury. They fail to allege facts
                   13 sufficient to plead any claim, and thus all their claims should be dismissed.
                   14
                   15 DATE: February 7, 2022                    LEWIS BRISBOIS BISGAARD & SMITH LLP
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                   17
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                   19
                                                                By:
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                                                                      MICHAEL K. GRIMALDI
                                                                      Attorneys for Defendant
                                                                                              11
                   20                                                 California Pizza Kitchen, Inc.
                   21
                   22   13
                          See e.g., Kho v. Wells Fargo & Co., 2012 U.S. Dist. LEXIS 110957, at *9 (C.D.
                   23   Cal. Aug. 6, 2012) (dismissing declaratory relief claim because it was “entirely
                   24   duplicative” of plaintiff’s other claims and there was “no reason to believe
                        declaratory judgment will resolve any issues aside from those already addressed by
                   25   the substantive claims.”); Reyes v. Nationstar Mortg. LLC, 2015 U.S. Dist. LEXIS
                   26   99201 at *7 (N.D. Cal. July 28, 2015) (where determining an underlying claim
                        “resolve[s] any question regarding interpretation… there is no need for declaratory
                   27   relief.”); Mesa v. Am. Gen. Life Ins. Co., 2020 U.S. Dist. LEXIS 12002 at *21 (E.D.
                   28   Cal. Jan. 22, 2020) (same).
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